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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION

MICHAEL JASON EVANS                                                               PLAINTIFF

V.                               CASE NO. 5:24-CV-5042

COMMISSIONER, SOCIAL SECURITY
ADMINISTRATION                                                                 DEFENDANT

                                           ORDER

       Comes on for consideration the Report and Recommendation (Doc. 16) filed in this

on July 1, 2024, by the Honorable Christy Comstock, United States Magistrate Judge for

the Western District of Arkansas. The Commissioner filed an unopposed motion

requesting that the Plaintiff’s case be remanded pursuant to sentence four of Section

405(g) in order to conduct further administrative proceedings. The Magistrate Judge

recommends granting the motion. Under the circumstances, it is not necessary for the

Court to allow the objection deadline to expire, as it is clear neither party will object to the

recommended relief.

       IT IS THEREFORE ORDERED that the Report and Recommendation is proper

and is ADOPTED IN ITS ENTIRETY. Accordingly, the Unopposed Motion to Remand

(Doc. 14) is GRANTED, the decision of the ALJ is REVERSED, and this case is

REMANDED to the Commissioner for further consideration pursuant to sentence four of

42 U.S.C. § 405(g).

       IT IS SO ORDERED on this 2nd day of July, 2024.


                                            /s/ Timothy L. Brooks
                                            TIMOTHY L. BROOKS
                                            UNITED STATES DISTRICT JUDGE
